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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

CRAIG D. BUTLER,

                       Plaintiff,

v.                                             No. 17 C 007860

THE NORTHEAST ILLINOIS REGIONAL Honorable Judge Rebecca R. Pallmeyer
COMMUTER RAILROAD CORPORATION,
d/b/a METRA; JAMES DERWINSKI; Magistrate Judge Sheila M. Finnegan
individual & official capacity Chief of
Mechanical Dept.; ART OLSEN, Mechanical
Dept. Director, individual & official capacity;
SHON GEORGE, Supt. Mechanical Dept.,
individual & official capacity,

                       Defendants.

                     DEFENDANTS’ MOTION TO DISMISS THE AMENDED
                      COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)

       NOW COME the Defendants, NORTHEAST ILLINOIS REGIONAL COMMUTER

RAILROAD CORPORATION d/b/a METRA (“Metra”), a municipal corporation, and JAMES

DERWINSKI, (“Derwinski”), ART OLSEN, (“Olsen”), SHON GEORGE, (“George”), (“Defendants”),

by and through their counsel of record, Minya L. Coleman, and move to dismiss the Complaint pursuant

to Fed. R. Civ. P. 12(b)(6), stating:

                                               Introduction

       Plaintiff filed a four count Amended Complaint (“Amended Complaint” Dkt.37), alleging

violations under Title VII of the Civil Rights Act of 1964 (Count I, “Title VII”), Racial

Discrimination/Harassment in Violation of 42 U.S.C. §1983 (Count II, “§1983”), Retaliation in

Violation of Title VII and Section 1983 (Count III, “Retaliation”), and Disability Discrimination in

Violation of Americans with Disability Act of 1990 (“Count IV, “ADA”) against Metra (for

“indemnification only,” Amended Complaint, ¶6), and the individual defendants in their individual and
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official capacities: Derwinski, former Chief Mechanical Officer and current CEO/Chief Executive of

Metra; Olsen, Metra’s now retired Director of Milwaukee Mechanical Department; and George, former

Superintendent of Mechanical Department and current Director of Milwaukee District Mechanical

Department.     Defendants now seek dismissal under Federal Rule of Civil Procedure 12(b)(6) of the

Amended Complaint based on plaintiff’s failure to state claims upon which relief can be granted.

       The Amended Complaint contains insufficient facts to state plausible claims for racial

discrimination or retaliation under Title VII or Section 1983 and disability related discrimination under

the Americans with Disabilities Act. Plaintiff’s Title VII claims are premised on boilerplate, conclusory

language, which do not put defendants on notice of the subject matters at issue. Plaintiff’s 1983 claims

are also not cognizable against the three individual defendants, as plaintiff has not identified the

constitutional violations at issue or pled sufficient facts to support his claims against the individual

defendants. The complaint also does not sufficiently allege the personal involvement of each of the three

individual defendants to hold them liable under Section 1983. Additionally, the Amended Complaint

identifies claims that are both time barred and beyond the scope of Plaintiff’s EEOC Charge of

Discrimination.    Further, the Amended Complaint alleges Metra is party to this case solely for

indemnification, but provides no basis for this claim. Finally, the Complaint is devoid of any basis for

the claims for intentional infliction of emotional distress.

                                          Rule 12(b)(6) Standard

       In order to survive a Rule 12(b)(6) motion to dismiss, a complaint must contain sufficient facts

that, when accepted as true, “state a claim for relief that is plausible on its face.” Ashcroft v. Iqbal, 556

U.S. 662, 678, 129 S.Ct. 1937, 1949 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct.

1955, 1974 (2007). A pleading that offers nothing more than “labels and conclusions or a formulaic

recitation of the elements of a cause of action will not do.” Iqbal, 556 U.S. at 678 (internal quotations



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omitted). The complaint still needs to set forth enough factual specificity to causally connect Plaintiff’s

claim to his alleged injury. McTigue v. City of Chicago, 60 F.3d 381, 382 (7th Cir. 1995). Where a

complaint pleads facts that are merely consistent with a defendant’s liability, it stops short of the line

between possibility and plausibility of entitlement to relief. Adams v. City of Indianapolis, 742 F.3d 720,

728 (7th Cir. 2014).

   I.      PLAINTIFF TITLE VII CLAIMS SHOULD BE DISMISSED

        A. The Amended Complaint Fails to Allege Sufficient Fact to State claims for Racial
           Discrimination.

        To state a claim for race discrimination under Title VII of the Civil Rights Act of 1964, a

Plaintiff must plead facts to show that (1) he is a member of the protected class, (2) that he performed

his job satisfactorily, (3) that he suffered an adverse employment action; and (4) that those outside of his

protected class were treated more favorably than him. Payne v. Milwuakee Cty., 146 F.3d 430, 434 (7th

Cir. 1998), see also Peele v. Country Mut. Ins. Co., 288 F.3d 319, 326 (7th Cir. 2002). Similarly, to

state a claim for race discrimination under 42 U.S.C §1983, plaintiff must plead facts to plausibly

suggest that he suffered disparate treatment based on his race in violation of his constitutional rights.

See, Williams v. Seniff, 342 F.3d 774, 787-788 (7th Cir. 2003).

        Plaintiff fails to plead a factual basis for the alleged claims under Title VII and Section 1983

based on race. Plaintiff alleges that he was required to provide medical documentation to support his

February 23, 2016 absence due to his illness. (Amended Complaint, Dkt. 37, ¶ 31). Plaintiff further

alleges that he was ultimately terminated from his employment with Metra. According to Plaintiff,

Metra refused to accept the medical documentation he provided to support his February 23, 2016 sick

day absence on the grounds that it was “too vague, electronically signed and unacceptable.” (Amended

Complaint, Dkt. ¶31, 38, 41).      Plaintiff contends that Metra in the past accepted similar medical

documentation from his physician without reservation. (Amended Complaint, Dkt., ¶ 38).

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       The aforementioned allegations do not plausibly set forth any claim that these employment

practices were based on Plaintiff’s race. Plaintiff alleges no facts to connect the Defendant’s refusal to

any other facts to indicate that Metra’s decision regarding the medical documentation was motivated by

race and thus fails to show how the Defendant’s action even rises to the level of an unlawful

employment action. Similarly, Plaintiff fails to cite to any relevant comparators sufficient to establish

that other employees of Metra were treated more favorably than him. At most, the Amended Complaint

strings together a loose set of circumstances and conduct from which plaintiff concludes that that his

race was the basis for the refusal to accept the medical documentation. Plaintiff’s conclusory and

threadbare recitals of the elements of a cause of action in conjunction with these allegations, without

more, are not sufficient to defeat a motion to dismiss. Adams v. City of Indianapolis, 742 F.3d 720, 728

(7th Cir. 2014), citing, Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937 (2009). Plaintiff has not

alleged sufficient facts to state claims for racial discrimination. Consequently, those claims made under

Title VII, as well as similar claim made under Section 1983, must be dismissed.

       B. Plaintiff’s racial harassment claims are outside the scope of the EEO charge of
          discrimination.

       Plaintiff’s claims of racial harassment are barred because they exceed the scope of the EEOC

discrimination charge. There are a number of prerequisites to the successful maintenance of a claim

under Title VII. See 42 U.S.C. § 2000e-5. First, the party must file a charge with the EEOC within the

period of time allotted by the statute. Second, the Commission must issue a right to sue letter. Rush v.

McDonald's Corp., 966 F.2d 1104, 1110 (7th Cir. 1992).           The scope of the subsequent judicial

proceedings is limited by the nature of the charges filed with the EEOC. Id. A plaintiff may only bring

claims that are originally included in the EEOC charge or are “reasonably related to the allegations of

the EEOC charge and growing out of such allegations.” Lugo v. Int'l Bhd. of Elec. Workers Local #134,

175 F. Supp. 3d 1026, 1034 (N.D. Ill. 2016) citing Moore v. Vital Prods., Inc., 641 F.3d 253, 256–57

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(7th Cir.2011). To be “like or reasonably related” to the allegations in the EEOC charge, the relevant

claim “ ‘must, at minimum, describe the same conduct and implicate the same individuals.’ ” Id. at 1034

quoting Cheek v. W. & S. Life Ins. Co., 31 F.3d 497, 501 (7th Cir.1994). An aggrieved employee may

not complain to the EEOC of only certain instances of discrimination, and then seek judicial relief for

different instances of discrimination. Rush at 1110.

       In his “Charge of Discrimination” (Amended Complaint, Exhibit. A), Plaintiff makes no mention

of harassment on account of his race. He merely states that he was required to provide a note from his

physician to support his February 23, 2016 absence and was later informed that the documentation

provided was insufficient, leading to his termination on April 22, 2016. Exhibit A to the Amended

Complaint contains no allegations of racial harassment. The Title VII claims based on harassment must

therefore be dismissed. See Smith v. Rosebud Farmstand, 909 F. Supp. 2d 1001, 1005 (N.D. Ill. 2012)

(Racial harassment claim was beyond the scope of the plaintiff’s charge where plaintiff included a

specific race discrimination claim in her charge but failed to include any reference to racial harassment).

       C. Plaintiff fails to state a cause of action for harassment

       Assuming that Plaintiff’s allegations of harassment fall within the scope of his EEOC charge of

discrimination, Plaintiff failed to provide any factual basis to support allegations of harassment or

hostile work environment. The Supreme Court recognized that hostile environment harassment claims

are cognizable under Title VII for discrimination on the basis of race and ethnicity. Meritor Sav. Bank,

FSB v. Vinson, 477 U.S. 57, 65–66 (1986). The court identified a six step approach analyzing racial

harassment claims under Title VII: (1) the employee belongs to a protected group; (2) the employee was

subject to unwelcome harassment; (3) the harassment complained of was based on race; (4) the

harassment complained of affected a term, condition or privilege of employment; (5) Plaintiff must be

able to prove that the employer knew or should have known of the harassment and failed to take prompt



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remedial action; and (6) the employee acted reasonably under the circumstances. Daniels v. Essex Grp.,

Inc., 937 F.2d 1264, 1270–71 (7th Cir. 1991).

       None of the allegations in the Amended Complaint suggest that Plaintiff was subjected to any

kind of harassment based on his race. Plaintiff’s Amended Complaint acknowledges he was on a Step 5

Disciplinary status, whereby any future malfeasance by Plaintiff would trigger immediate termination.

(Amended Complaint, Dkt. ¶23, 25). Plaintiff            alleges he was required to provide medical

documentation in support of his absence, and ultimately fired for failure to provided sufficient

documentation. (Amended Complaint, Dkt. 37, ¶ 38, 42). However, the Amended Complaint fails to

identify any facts to support a claim that such requirement of sufficient medical documentation was

Defendants’ method of harassing the Plaintiff. Plaintiff fails to identify the type of conduct he believes

constitutes harassment based upon race, and who allegedly performed the conduct that rose to the level

of the alleged “harassment.” Additionally, the Amended Complaint provides insufficient allegations

that any management decision maker played a role in the harassment, or that plaintiff’s managers were

made aware of the harassment and failed to act or take prompt remedial action. At best, the allegations

indicate that Plaintiff was terminated as a result of not providing the required sufficient medical

documentation. Therefore, any claims of racial harassment must be dismissed.

   D. The Complaint fails to Sufficiently Allege a Retaliation Claim.

       The Amended Complaint similarly fails with respect to Plaintiff’s claims of unlawful retaliation.

While the court must accept the well-pleaded facts in the Amended Complaint as true, “legal

conclusions and conclusory allegations merely reciting the elements of the claim are not entitled to this

presumptive truth. McCauley. City of Chicago, 671 F.3d 611, 616 (7th Cir. 2011). To state a claim for

retaliation, plaintiff must allege that he suffered a material adverse employment act because of his

protected activity. See University of Texas Southwestern Med. Center v. Nassar, 133 S. Ct. 2517, 2534



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(2013) (holding that “because” means “but for” causation for retaliation claims); See, Smith v. Bray, 681

F.3d 888, 896 (7th Cir. 2012)(There must be a causal connection between the alleged violation and the

materially adverse action).

       The allegations pertaining to Plaintiff’s retaliation claim (Amended Complaint ¶ 16, 43) states

that Plaintiff engaged in a protected activity when he filed an unlawful discrimination charge against

Defendant arising from his alleged wrongful termination on August 8, 2013. Plaintiff further contends

that Defendant’s retaliation against him was in response to Plaintiff having had his employment

reinstated with Metra following the August 8, 2013 termination. However, these claims amount to

nothing more than conclusory representations of what Plaintiff perceives to be the basis for his 2016

termination. The Amended Complaint fails to include any additional facts to connect Plaintiff’s 2013

reinstatement of employment to his subsequent 2016 termination. As such, the allegations in support of

the retaliation claim do not rise to a level to plausibly suggest that the 2016 termination was in any way

caused by or related to Plaintiff’s 2013 engagement in a protected activity or his success thereof.

Therefore, the retaliation claims should also be dismissed.

   E. Plaintiff’s Claims of Discrimination Occurring prior to September 19, 2015 Are Barred by
      the Applicable Statute of Limitations.

       Counts     I,   II,    and   IV   of   Plaintiff’s     Amended   Complaint     he   alleges    that

during the tenure of his employment “he was victimized by each of the Defendants” due to his race and

disability, (Amended Complaint, Dkt. 37, ¶49, 61, 70). As plead, the Amended Complaint refers to

events that occurred well outside the statute of limitations for Title VII claims. Any claims brought

under Title VII require that a charge be filed within 300 days of an unlawful employment practice. 42

U.S.C. §2000e-5(e)(1); Tinner v. United Ins. Co. of Am. 308 F.3d 697, 707 (7th Cir. 2002). Plaintiff

began his employment with Metra on November 4, 2011. Plaintiff commenced his claims under Title

VII on July 15, 2016 specifically addressing the April 22, 2016 termination and the underlying February

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23, 2016 sick day medical documentation giving rise thereto. In accordance with the prescribed statute

of limitations for Title VII claims, which requires filing within 300 days of the unlawful employment

practice, any claims of discrimination arising from occurrences prior to September 19, 2015 are barred

for any Title VII claims made in the Amended Complaint. Moreover, any such claims are further barred

as they fall outside the scope of Plaintiff’s EEOC Charge of Discrimination.

   F. The Title VII claims against individually named defendants are not cognizable.

         Title VII authorizes suit only against the employer as an entity rather than against individuals

who are agents of the employer. Passananti v. Cook Cty., 689 F.3d. 655, 677 (7th Cir. 2012) citing

Williams v. Banning, 72 F.3d 552, 555 (7th Cir. 1995); Lugo v. Int'l Bhd. of Elec. Workers Local #134,

175 F. Supp. 3d 1026, 1033 (N.D. Ill. 2016). Title VII does not provide for individual liability.

Lugo,175 F.Supp.3d at 1033. Any claims under Title VII against the four individual defendants,

Derwinski, Olsen, George, are not actionable and should be dismissed with prejudice.

   II.      PLAINTIFF’S FAILS TO STATE CLAIMS UNDER §1983

            A. Plaintiff Fails to State Claims against the Individual Defendants.

         A claim brought under §1983 must allege the deprivation of a specific right under the

Constitution or federal law. Odogba v. Wisconsin Dept. of Justice, 22 F.Supp.3d 895, 907 (7th Cir.

2014). Section 1983 does not create any substantive rights; it merely provides remedies for deprivations

of rights established elsewhere. City of Oklahoma City v. Tuttle, 471 U.S. 808, 816, 105 S.Ct. 2427,

2432 (1985). Although the Amended Complaint makes claims against the three individual defendants in

their “official and individual” capacities, it does not identify what constitutional or statutory rights are at

issue or were violated. The Amended Complaint purports to only claim “violations” of Section 1983

(See Counts II and III). Without identification of a violation of any specific constitutional right,

Plaintiff’s §1983 claims must fail as to all the Defendants including Metra.



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       Moreover, Plaintiff does not sufficiently allege any personal involvement of Defendants,

Derwinski or George in violating plaintiff’s rights or through their roles in the alleged adverse

employment action. Plaintiff simply alleges that “Derwinski either initiated or validated the actions

taken by his subordinates” (George and Olsen). Amended Complaint, ¶150. Section 1983 claims

against individuals must be based on personal involvement. Kuhn v. Goodlow, 678 F.3d 552, 556 (7th

Cir. 2012), Brown v. Dart, 2017 WL 321217 (N.D.Ill 2017). While Plaintiff alleges that Defendant

Olsen participated as a witness in the underlying disciplinary action hearing and acted as the ultimate

decision maker in not accepting the medical documentation provided by Plaintiff, the Amend Complaint

yet still fails to identify what constitutional violation is at issue in relation to Defendant Olsen’s

participation and/or decision. As such, none of these allegations are sufficient to hold any of these three

defendants personally liable for denying Plaintiff an unspecified constitutional right under Section 1983.

Additionally, the same arguments raised above as to the inadequacy of Plaintiff’s Title VII race

discrimination apply equally to the complaint’s Section 1983 allegations.

       Plaintiff also brings §1983 claims against individually named Metra employees in their “official

capacities.” Claims based on “official capacity” are in essence claims against the government entity.

Tom Beu Xiong v. Fischer, 787 F.3d 389 (7th Cir. 2015). Plaintiff’s allegations fails to allege any facts to

support claims against these individuals as final policymakers for Metra. Thus, the official capacity

claims against the three individually named defendants should be dismissed.

       B.      The Amended Complaint fails to allege a Section 1983 Claim against Metra.

       In Monell v. Department of Social Services, 436 U.S. 658 (1978), the Supreme Court held that a

municipality can be held liable under 42 U.S.C. § 1983 only when the constitutional deprivation is

caused by the municipality’s own conduct. Id. at 694. A Monell claim is directed at the municipality

itself, alleging that a policy, practice, or custom was the “moving force” behind plaintiff’s constitutional



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depravation. Bd. of Cnty. Comm’ns v. Brown, 520 U.S. 397, 400 (1997). A municipality cannot be held

liable based on a theory of respondeat superior but rather can be held liable only when the constitutional

deprivation is caused by the municipality’s own conduct.

        In order to establish municipal liability, plaintiff must establish that the injuries alleged were

caused by an express municipal policy, a person with final policymaking authority, or common

municipal practice so widespread and well-settled that it constitutes a custom or usage with the force of

law. Lawrence v. Kenosha County, 391 F.3d 837, 844 (7th Cir. 2002). A Monell claim is directed at the

municipality itself, alleging that a policy, practice, or custom was the moving force behind plaintiff

suffering a constitutional deprivation. See, Waters v. Chicago, 580 F.3d 575, 580-581 (7th Cir. 2009). It

is well settled that to state a Monell claim post-Iqbal, the plaintiff must plead factual content allowing

the court to draw the reasonable inference that the municipality maintains the problematic policy or

practice in question. McAuley v. City of Chicago, 671 F.3d 611 (7th Cir. 2011). For purposes of

determining §1983 liability under Monell, Defendant Northeast Illinois Regional Commuter Rail

Corporation d/b/a “Metra” is a local public entity under Illinois law. Maldonado v. Metra, 734

F.Supp.563 (N.D .Ill.1990) (Norgle J.), DeReal v. Northeast Illinois Regional R.R. Corp., 404 Ill.App.3d

65, 934 N.E.2d 574 (1st Dist.2010).

       In the present case, Plaintiff fails to include any substantial allegations to hold Metra liable under

Section 1983.    Plaintiff fails to allege or even suggest a pattern, practice or policy employed by

Defendant causing the unspecified constitutional deprivation. The recitation of Plaintiff’s employment

reinstatement terms does not establish sufficient facts necessary to support a Section 1983 claim against

Metra, as a single incident involving the Plaintiff is insufficient to plead a plausible 1983 claim.

Plaintiff fails to identify other instances of when Metra may have allegedly applied this official policy,

custom, or practice. Accordingly, the claim should be dismissed.



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                    C. The §1983 Claims are Barred by the Applicable Statute of Limitations.

           In order to determine the statute of limitations for §1983 action, the federal court must adopt the

forum state’s statute of limitations applicable to personal injury claims. Ashafa v. City of Chicago, 146

F.3d 459 (7th Cir. 1998), citing Owens v. Okure, 488 U.S. 235 (1989). The appropriate statute of

limitations for §1983 cases filed in Illinois is two (2) years. Id. Plaintiff filed his complaint on

November 20, 2017. Therefore, any allegations of regarding events which occurred prior to November

20, 2015, including the allegations regarding the August 8, 2013 termination and subsequent September

5, 2014 employment reinstatement terms, (Amended Complaint ¶¶ 16, 17, 20) are barred by the statute

of limitations.

    III.      PLAINTIFF CANNOT RECOVER PUNITIVE DAMAGES AGAINST A
              GOVERNMENTAL ENTITY

           A plaintiff cannot recover punitive damages against a governmental agency.              42 U.S.C.

1981a(b)(1); 42 U.S.C. 42 U.S.C. § 1983; City of Newport v. Fact Concerts, Inc., 453 U.S. 247 (1981).

Thus, Plaintiff’s claim for punitive damages alleged in the prayer for relief as to Metra must be stricken.

    IV.       STATE CLAMS OF INTENTIONAL INFLICTION OF EMOTIONAL AND
              FINANCIAL HARM

           Plaintiff Amended Complaint includes a one line reference under the heading “Nature of the

Claim” (Amended Complaint ¶ 10) to alleged a state law claims for intentional infliction of emotional

distress and financial harm. Aside from these allegations, the Complaint provides no facts or separate

counts regarding these claims. Therefore, the purported claims for intentional infliction of emotional and

financial harm should be stricken and dismissed.

    V.        PLAINTIFF’S CLAIMS ARE PRE-EMPTED BY RAILWAY LABOR ACT

           Any of Plaintiff’s claims that implicate the collective bargaining agreement are preempted by the

Railway Labor Act (“RLA”). 42 U.S.C. §151; 45 U.S.C. §153. The RLA governs the each of the


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separate and distinct Collective Bargaining Agreement (“CBA”) between the International Brotherhood

of Electrical Workers – Mechanical Department (plaintiff’s former union) and International Brotherhood

of Electrical Workers – Electrical Department (Plaintiff’s current union) and Metra. 45 U.S.C. §§ 151 et

seq.   The RLA requires arbitration as the exclusive forum for resolving disputes involving

“interpretation or application” of collective bargaining agreements, also referred to as minor disputes. 45

U.S.C. § 153 First (i). Hawaiian Airlines v. Norris, 512 U.S. 246, 251 (1994); 45 U.S.C. § 151a; Brown

v. Illinois Central Railroad, 254 F.3d 654, 658 (7th Cir. 2001) (citing Monroe v. Missouri Pacific R.R.

Co., 115 F.3d 514, 519 (7th Cir. 1997), and Coker v. Trans World Airlines, Inc., 165 F.3d 579, 583

(7th Cir.1999) (stating that “[t]he distinguishing feature of a minor dispute is that the dispute can be

conclusively resolved by interpreting the existing CBA”).

       The RLA precludes claims brought pursuant to various federal civil rights statutes, including

Title VII and §1983, if the claim is inextricably tied to the interpretation of a collective bargaining

agreement, as is the claim for relief sought by Plaintiff in the instant case. Caldwell v. Norfolk Southern

Corp., No. 96-443P, 1998 WL 1978291, at *5 (W.D.N.C. March 3, 1998) (Title VII race discrimination

claim precluded); and Everette v. Union Pacific R.R., No. 04-5428, 2006 WL 2587927, at *4 (N.D.Ill.

Sept. 5, 2006) (Title VII and § 1981 claims precluded). Plaintiff alleges that upon his reinstatement in

2014, he “was denied back pay or any of the benefit time he had accumulated up to the date of his prior

termination.” Amended Complaint ¶20. He further alleges that he was not properly awarded sick time

and was placed on a permanent Step 5 Disciplinary Status, a practice that was inconsistent with prior

adjudications of discipline.   Id. ¶21-28. Plaintiff’s claims are inextricably tied to the terms and

conditions of his collective bargaining agreement. To the extent Plaintiff’s claims involve disputes over

the interpretation of a collective bargaining agreement in such matters as “transfers” between different




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unions, pay, seniority, and/or benefits, Plaintiff’s claims are pre-empted by the RLA and must be

dismissed.

   VI.       PLAINTIFF FAILS TO ALLEGE THE FUNDAMENTAL ELEMENTS OF ANY
             DISCRIMINATION CLAIMS UNDER THE ADA OR TITLE VII.

   Plaintiff alleges disability discrimination in violation of the ADA. The ADA prohibits employers

from discriminating against disabled employees because of their disability. 42 U.S.C. §12112(a). To

prevail on an ADA claim, a plaintiff must show that (1) he is disabled; (2) he is otherwise qualified to

perform the essential functions of his job with or without reasonable accommodation; and (3) his

employer took an adverse job action against him because of his disability or without making a

reasonable accommodation for it. (Basden v. Professional Transp., Inc., 714 F.3d 1034, 1037 (7th Cir.

2013) (citing Winsley v. Cook County, 563 F.3d 598, 603 (7th Cir. 2009)).

   Here, Plaintiff arguably satisfies the second element by alleging he was an experienced and

proficient electrician (Amended Complaint, ¶13, 69). However, Plaintiff fails to identify his disability

and makes no allegations that he is otherwise qualified to perform the essential functions of his job with

or without reasonable accommodation.       Moreover, the Amended Complaint is entirely devoid of any

allegations connecting Plaintiff’s February 23, 2016 to his alleged disability. Plaintiff simply alleges

that he was required to provide medical documentation to support his February 23, 2016 sick day

absence and was thereafter terminated for failing to do so. He fails to allege any further facts that the

adverse action was because of his disability or that such action was made without Defendants having

made a reasonable accommodation for his disability. Plaintiff’s ADA claim suffers from many

deficiencies, not the least of which is that there is no “disability” at issue for which an accommodation was

requested. Accordingly, any such claim(s) must be dismissed.

         WHEREFORE, Defendants, JAMES DERWINSKI, SHON GEORGE, ART OLSEN, and

NORTHEAST ILLINOIS REGIONAL COMMUTER RAILROAD CORPORATION d/b/a METRA


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respectfully requests that this Honorable Court enter an Order granting its motion to dismiss and for any

other relief that this Court deems appropriate.

                                                    Respectfully submitted,

                                                    Northeast Illinois Regional Commuter
                                                    Railroad Corporation, d/b/a Metra

                                              By:   /s/ Minya L. Coleman______________
                                                    Minya L. Coleman

                                                    April 13, 2018

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